          3:22-cr-30021-SEM-KLM    # 65   Filed: 06/07/23   Page 1 of 8




            IN THE UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff,                    )
                                          )
     v.                                   )      No. 22-cr-30021
                                          )
MICHAEL HENDRICKS,                        )
                                          )
            Defendant.                    )

                         OPINION AND ORDER

SUE E. MYERSCOUGH, U.S. District Judge.

     This matter comes before the Court on the Report and

Recommendation (R&R) of U.S. Magistrate Judge Karen L.

McNaught dated May 14, 2023. See R&R, d/e 62. With the benefit

of full briefing and an evidentiary hearing, the Magistrate

recommends that this Court deny Defendant Michael Hendricks’

motion to suppress certain statements he made while in FBI

custody, see Def.’s Mot. Suppress, d/e 53. Mr. Hendricks timely

filed objections to the Magistrate’s recommendation. See Def.’s

Objection, d/e 64. For the reasons that follow, Mr. Hendricks’

objections are OVERRULED, the Report and Recommendation is

ACCEPTED and ADOPTED, and the motion to suppress is DENIED.


                                  Page 1 of 8
        3:22-cr-30021-SEM-KLM    # 65   Filed: 06/07/23   Page 2 of 8




                         I. BACKGROUND

     In May 2022, a federal grand jury indicted Mr. Hendricks on

three counts of possessing and distributing child pornography. On

March 6, 2023, Mr. Hendricks filed the suppression motion now

before the Court. Mr. Hendricks contends that he was suffering

from a diabetic episode during his post-arrest interview, and that

his resulting “psychosis” left him incapable of waiving his rights to

counsel and to remain silent. He argues that his Miranda waiver

must be held invalid and that any statements he made while in

custody must be suppressed.

     On April 6 and 20, 2023, U.S. Magistrate Judge Karen L.

McNaught held an evidentiary hearing on Mr. Hendricks’ motion.

The Magistrate received several pieces of documentary evidence.

The Magistrate also heard testimony from Mr. Hendricks and the

officers who conducted the interview. On May 17, 2022, the

Magistrate filed her Report and Recommendation.

     The Court adopts the Magistrate’s statement of facts in its

entirety. In brief, on April 18, 2022, several dozen law enforcement

officers executed a search warrant at Mr. Hendricks’ home in

Morrisonville, Illinois. The officers’ midday entry roused the


                                Page 2 of 8
        3:22-cr-30021-SEM-KLM    # 65   Filed: 06/07/23   Page 3 of 8




sleeping Mr. Hendricks, who briefly was handcuffed to facilitate a

protective sweep. At some point during the search, one of the

officers on the scene—FBI Special Agent Anthony Wright—asked

Mr. Hendricks if “he was okay.” Agent Wright denied asking any

other questions of Mr. Hendricks during the search.

     After the search concluded, FBI and Illinois State Police

officers transported Mr. Hendricks to the Morrisonville City Hall.

Mr. Hendricks, now under arrest and in handcuffs, was then taken

to a private room. At approximately 1:00 p.m., Agent Wright and

Illinois State Police Special Agent Lyle Bloomfield began their

custodial interview of Mr. Hendricks, who by that time was no

longer handcuffed. An audio-only recording of the interview was

provided to the Court and admitted as evidence without objection.

     Agents Bloomfield and Wright began by providing Mr.

Hendricks his Miranda warnings, both orally and in writing. Mr.

Hendricks verbally acknowledged that he understood his rights and

that he was willing to answer the agents’ questions without counsel

present. Mr. Hendricks then signed a form memorializing his

Miranda waiver.




                                Page 3 of 8
        3:22-cr-30021-SEM-KLM    # 65   Filed: 06/07/23   Page 4 of 8




     The interview proceeded for a little more than two hours. Mr.

Hendricks and the agents discussed, among other things, Mr.

Hendricks’ interest in hunting, his cannabis plants, and his

pornography collection. By all accounts, many of Mr. Hendricks’

representations were factually accurate. For instance, Mr.

Hendricks told the officers that he had traded pornography using a

well-known file-hosting site, an admission later corroborated by

investigators. Mr. Hendricks also properly identified his cell-phone

number and carrier and advised the agents where they could find a

key to his safe. At other points, Mr. Hendricks was evasive.

     Around 32 minutes into the interview, Mr. Hendricks had a

violent coughing spasm. Mr. Hendricks, a former coalminer,

immediately attributed the fit to his black lung, telling the agents

that he needed only to smoke a cigarette to suppress his coughing.

When the agents asked Mr. Hendricks whether he needed any water

or medication, Mr. Hendricks declined both offers. At no point did

Mr. Hendricks tell the agents that he was diabetic, that he needed

insulin, or that his blood sugar was high or low.




                                Page 4 of 8
        3:22-cr-30021-SEM-KLM    # 65   Filed: 06/07/23   Page 5 of 8




                       II. LEGAL STANDARD

     The Court reviews de novo those portions of the Report and

Recommendation to which timely objections are made. See Fed. R.

Crim. P. 59(b)(3); 28 U.S.C. § 636(b)(1). The Court may “accept,

reject, or modify the recommendation, receive further evidence, or

resubmit the matter to the magistrate with instructions.” Fed. R.

Crim. P. 59(b)(3). If a party objects to the Report and

Recommendation in part, this Court reviews all other portions only

for clear error. Johnson v. Zema Sys. Corp., 170 F.3d 734, 739 (7th

Cir. 1999).

                          III. DISCUSSION

     “A defendant's challenge to the admission of statements made

during a custodial interrogation presents two separate questions:

whether he received and validly waived his Miranda rights, and

whether his statements themselves were voluntary.” United States

v. Outland, 993 F.3d 1017, 1021 (7th Cir. 2021). Because these

inquiries “are deliberately distinct,” id. at 1021, the Court must

take each in turn.

     Mr. Hendricks’ first objections concern the Magistrate’s factual

findings as to his mental state and the witnesses’ relative


                                Page 5 of 8
        3:22-cr-30021-SEM-KLM    # 65   Filed: 06/07/23   Page 6 of 8




credibility. Mr. Hendricks contests the following conclusions: (1)

that his “testimony regarding his mental and medical condition

during the interview was not credible,” (2) that “Mr. Hendricks

demonstrated independent thinking during the interview,” (3) that

Mr. Hendricks “was in full possession of his faculties during the

interview,” and (4) that the testimony of Agents Wright and

Bloomfield “was credible and corroborated by the audio recording of

the interview.” ---
                See Def.’s Objection, d/e 64, at 2 (quoting R&R, d/e

62, at 10–11).

     The recording of Mr. Hendricks’ interview supports all of the

Magistrate’s findings. Mr. Hendricks conducted himself lucidly,

attentively, and volubly. His reframing of certain statements—for

instance, a remark about the “devil” pointing him toward

pornography—as evidence of irrational or disordered thinking do

not succeed. Agents Wright and Bloomfield found nothing unusual

in Mr. Hendricks’ custodial statements, either in tone or in

substance. Neither does this Court. The Magistrate correctly found

Agents Wright and Bloomfield more credible than Mr. Hendricks,

and so these four objections are overruled.




                                Page 6 of 8
        3:22-cr-30021-SEM-KLM    # 65   Filed: 06/07/23   Page 7 of 8




     Moreover, the Magistrate correctly concluded that Mr.

Hendricks’ Miranda waiver was valid. Def.’s Objection, d/e 64, at 2.

Such a waiver is valid if it is (1) “the product of a free and deliberate

choice rather than intimidation, coercion, or deception,” and (2)

“made knowingly and intelligently, ‘with a full awareness of both the

nature of the right being abandoned and the consequences of the

decision to abandon it.’” Outland, 993 F.3d at 1021 (quoting Moran

v. Burbine, 475 U.S. 412, 421 (1986)). The Government must

prove, by a preponderance of the evidence, that a defendant’s

Miranda rights were waived knowingly, intelligently, and

voluntarily. United States v. Quiroz, 874 F.3d 562, 567 (7th Cir.

2017). The Government did so prove. This objection is overruled.

     Lastly, Mr. Hendricks objects to the Magistrate’s “belief that ‘a

defendant’s mental condition will not justify a finding of

involuntariness in the absence of police coercion.’” Def.’s Objection,

d/e 64, at 3 (quoting R&R, d/e 62, at 12). Despite Mr. Hendricks’

contrary formulation, “[c]oercive police activity is a necessary

predicate to finding that a confession is not ‘voluntary’ within the

meaning of the Due Process Clause.” United States v. Stadfeld, 689

F.3d 705, 709–10 (7th Cir. 2012) (citation omitted). A criminal


                                Page 7 of 8
        3:22-cr-30021-SEM-KLM    # 65   Filed: 06/07/23   Page 8 of 8




defendant’s “mental condition” during his interrogation, “by itself

and apart from its relation to official coercion,” cannot “dispose of

the inquiry into constitutional ‘voluntariness.’” Id. As Mr.

Hendricks conceded on the stand, the record here “is devoid of any

suggestion that police resorted to physical or psychological pressure

to elicit the statements.” Moran v. Burbine, 475 U.S. 412, 421

(1986). His objection is, therefore, overruled.

                          IV. CONCLUSION

     For these reasons, Defendant Michael Hendricks’ objections

(d/e 64) are OVERRULED, the Report and Recommendation (d/e

62) is ACCEPTED and ADOPTED, and Mr. Hendricks’ Motion to

Suppress Statement (d/e 53) is DENIED.


IT IS SO ORDERED.

ENTERED: JUNE 7, 2023

FOR THE COURT:


                           s/ Sue E. Myerscough
                           SUE E. MYERSCOUGH
                           UNITED STATES DISTRICT JUDGE




                                Page 8 of 8
